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UNITED sTATES DISTRICT coURTFu,Ee ¢{r_.:!.c.
Western District of Tennesse
‘?)5 JUL 20 Amn=os

 

UNITED STATES oF AMERICA it `f -`;§L.iD
Plaintiff, UERKLF` F"§TCOURT

WD {,`=." :"-:`§:l‘.-‘ir"H|S
VS. Case Number 2:99CR20114-01-D

TORRICK T. LYLES
Defendant.

\TUIKIMELEP ALUJ CCEGMIUHHEBEP (IRIHER

ON SUPERVISED RELEASE VIOLATION
(For Offenees Ccmmitted On or A£ter November 1, 1987)

The defendant, Torrick T. Lyles, was represented by Michael Edwin Scholl, Esq.

It appearing that the defendant, who was convicted on May 10, 2000. in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau

of Prisons to be imprisoned for a term of eighteen (18) months to run consecutively to
the sentence imposed in 2:02cr20031-B; 2202cr20333-B; 2cr02cr20484-B.

The defendant is remanded to the custody of the United States Marshal.

Signed this the fe day of July, 2005.

 

ITED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 01/10/1977

U.S. Marshal No.: 16873-076

Defendant's Mailinq Address: 3781 Graves, Apt. 1, Memphis, TN 38116

Thls document entered on the dockets

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with Ru|e 55 and/or 32(b) FHCrP on 5§/

   

UNITED sTATE DSTIIC COURT - WTERN DISTRCT oFTENNESSEE

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Michael EdWin Scholl

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167 N. Main St.

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Honorable Bernice Donald
US DISTRICT COURT

